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11/17/2017 01:12 AM CST




                                                          - 568 -
                                  Nebraska Supreme Court A dvance Sheets
                                          297 Nebraska R eports
                                    COHAN v. MEDICAL IMAGING CONSULTANTS
                                               Cite as 297 Neb. 568



                              M ary Cohan         and   Terry Cohan,       individually
                                 and as wife and husband, appellants and
                                        cross-appellees, v.Medical Imaging
                                        Consultants, P.C., et al., appellees
                                              and cross-appellants.
                                                      ___ N.W.2d ___

                                           Filed August 25, 2017.   No. S-16-145.

                                                supplemental opinion

                  Appeal from the District Court for Douglas County: James T.
               Gleason, Judge. Supplemental opinion: Former opinion modi-
               fied. Motions for rehearing overruled.

                 Richard J. Rensch and Sean P. Rensch, of Rensch &amp; Rensch
               Law, P.C., L.L.O., for appellants.

                 David D. Ernst and Kellie Chesire Olson, of Pansing, Hogan,
               Ernst &amp; Bachman, L.L.P., for appellees Medical Imaging
               Consultants, P.C., and Robert M. Faulk, M.D.

                 William R. Settles and Kate Geyer Johnson, of Lamson,
               Dugan &amp; Murray, L.L.P., for appellees Bellevue Obstetrics and
               Gynecology Associates, P.C., et al.

                  Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy, and
               K elch, JJ.
                                  - 569 -
               Nebraska Supreme Court A dvance Sheets
                       297 Nebraska R eports
                COHAN v. MEDICAL IMAGING CONSULTANTS
                           Cite as 297 Neb. 568
   Per Curiam.
   We consider the appellees’ motions for rehearing concern-
ing our opinion in Cohan v. Medical Imaging Consultants.1
We overrule the motions, but we modify the original opinion
as follows:
   In the section of the opinion designated “3. Cross-Appeals
by Appellees,” we add a sentence at the end of the first
paragraph,2 such that the paragraph reads as follows:
         Appellees’ cross-appeals assign as error the admission
      of Dr. Naughton’s testimony. Appellees moved to strike
      Dr. Naughton’s testimony because they claimed that only
      Mary’s prognosis at the time of trial was relevant and that
      Nebraska did not recognize a theory of recovery based
      upon loss of chance. The district court, in overruling
      the motions to strike, found that Dr. Naughton’s opinion
      was relevant for the limited purpose of establishing that
      early discovery of cancer leads to a better prognosis. We
      understand the district court to have used “prognosis” to
      refer to the risk of recurrence and the probability of an
      improved outcome.
The remainder of the opinion shall remain unmodified.
	Former opinion modified.
	Motions for rehearing overruled.
   Funke, J., not participating.

 1	
      Cohan v. Medical Imaging Consultants, ante p. 111, ___ N.W.2d ___
      (2017).
 2	
      Id. at 129-130, ___ N.W.2d at ___.
